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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

 

TALLAHASSEE DIVISION :
ERIC KEITH BROOKS, For Malling, by £. ZZ,
Plaintiff,
v. Case No. 4:19-cy-524-MW/MAF
OFFICER DAMON MILLER,
Defendant.
/

 

PLAINTIFF’S OPPOSITION TO SUMMARY JUDGMENT

COMES NOW the Plaintiff, Eric Keith Brooks, pro se, pursuant to Rule 56 Fed R. Civ.
P, and Local Rule 56.1 N.D. Fla., and enters his opposition to Defendant’s motion for summary
judgment ECF No. 17, in support of which he offers the following.

STATEMENT OF THE CASE

Defendant admits that Plaintiff Brooks has sued him in his individual and official
capacity for damages under 42 U.S.C. § 1983, alleging that Defendant Miller violated Brooks’
Fourth, Eight, and Fourteenth Amendment rights on November 12, 2016. ECF No. 17, p. 1.
Defendant asks that the Court grant summary judgment on Plaintiff’s claims for “false arrest,
excessive force, and “denial of medical care.”” Ibid. Defendant has failed to address Plaintiff’s
claims of illegal search and seizure (ECF No. 1, pp. 6, 8); they are admitted for purposes of

summary judgment.
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Defendant Miller is not entitled to summary judgment because there are genuine issues of
material facts in dispute. Defendant Miller is not entitled to qualified immunity because he
knowingly violated Plaintiff's well-established constitutional rights. Defendant Miller had no
probable cause to detain Plaintiff, search him, and/or arrest him. Defendant Miller used
unreasonable and excessive force in arresting Brooks; that same force injured Brooks and led to
Defendant denying Brooks’ pleas for medical attention.

MEMORANDUM OF LAW

Pursuant to Local Rule 7.1(A), Plaintiff Brooks provides the following memorandum of
law in support of his Opposition to Summary Judgment.
A. STATEMENT OF FACTS

Plaintiff will demonstrate from the record in the Argument below that Defendant’s
“Statement of Undisputed Facts” (ECF No. 17, p. 2) is a summary of Miller’s Probable Cause
Affidavit, henceforth “PCA,” entered as Defendant’s Exhibit A; that virtually all of those
assertions are genuine issues of material facts in dispute; and that Miller’s PCA is the keystone to
Defendant’s claims to qualified immunity and summary judgment.

Each of Defendant’s disputed material facts will be rebutted in the appropriate subsection
below. The following facts are undisputed: after Brooks was handcuffed he freely admitted he
had no valid driver’s license and had never had one; that Miller read him his Miranda rights after
the search; that Miller transported Brooks to the Leon Country Detention Center; and that the
State Attorney dismissed the charges 346 days after the November 12, 2016, arrest date. ECF
No. 17, pp. 2-4.

All other facts are in dispute; Plaintiff objects to their characterization as “undisputed

facts” and hereby rejects and denies Defendant’s remaining assertions in toto. [bid. Defendant’s

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subjective interpretation of the MAVRIC dash-cam video is rejected out of hand. ECF No. 17, p.
4. Plaintiff will cite to the specific contents of Defendant’s Exhibit C to show what the audio
and video tracks prove or disprove.

B. Standard of Review

On a motion for summary judgment the defendant initially has the burden to demonstrate
an absence of evidence for plaintiff's case. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23
(1986). If he does so, the burden shifts to the plaintiff to come forward with evidentiary material
demonstrating a genuine issue of material fact. Ibid. “[T]he mere existence of some alleged
factual dispute between the parties will not defeat an otherwise properly supported motion for
summary judgment; the requirement is that there be no genuine issue of material fact.” Scott v.
Harris, 550 U.S. 372, 380 (2007)(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-
248 (1986)).

Plaintiff Brooks recognizes that as a pro se litigant and the non-moving party, factual
inferences must be viewed in the light most favorable to him, and his complaint is entitled to
liberal interpretation; however, he does not escape the burden of establishing a genuine issue of
material fact. Brown v. Crawford, 906 F. 2d 667, 670 (11" Cir. 1990(cited in Pearson v. Byrd,
LEXIS 86041 M.D. Alabama 2007). The Defendant also cites Scott as precedent for this Court’s
review of Defendant’s Exhibit C, the MAVRIC dash-cam video.

The Court must resolve all issues of disputed facts concerning qualified immunity in
favor of the non-moving party (i.e. the Plaintiff, in the instant case). Sheth v. Webster, 145 F. 3d
1231 (11" Cir, 1998).

Defendant Miller erroneously directs this Court to follow the Saucier sequence in

analyzing the question of qualified immunity. ECF No. 17, p. 7, lines 11-14. But see Pearson v.
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Callahan (2009): “while the Saucier sequence is often appropriate, it should no longer be
regarded as mandatory.” Pearson v. Callahan, 555 U.S. 223, 129 S. Ct. 808, 172 L. Ed. 2d 565,
2009 US LEXIS 591, Headnote 6. “...when qualified immunity is asserted at the pleading stage,
the answer to whether there was a violation may depend on a kaleidoscope of facts not yet
developed.” Jbid. at holding 1(c)(ii). This is relevant where Defendant has persuaded this Court
to curtail discovery while failing to respond to Plaintiff's timely-filed good-faith discovery
requests.

If a defendant was not acting within his discretionary authority, he would not be able to
claim the benefits of qualified immunity. Lee v. Ferraro, 284 F. 3d 1188, 1194 (11™ Cir. 2002).

To overcome qualified immunity, Plaintiff must demonstrate that Defendant Miller’s
conduct violated “clearly established statutory or constitutional rights of which a reasonable
person would have known.” GJR Investments, Inc. v. County of Escambia, 132 F. 3d 1359, 1366
(11 Cir. 1998); Storck y. City of Coral Springs, 354 F. 3d 1307, 1314 (11" Cir. 2003).

The Fourth Amendment encompasses the “right to be free from the use of excessive force
in the course of an arrest.” Lee v. Ferraro, 284 F. 3d 1188, 1197 (11 Cir. 2002)(cited in
McKnight v. Garriott, LEXIS 195489 (M.D. Fla. 2018). Whether the force used is reasonable
turns on the facts and circumstances of each particular case, including the severity of the crime at
issue, whether the suspect poses an immediate threat to the safety of the officers or others, and
whether he is actively resisting arrest or attempting to evade arrest by flight.” Graham v.
Connor, 490 U.S. 386, 396, 109 S. Ct. 1865, 1872, 104 L. Ed. 2d 443 (1989). “[T]he question
we ask is whether, under [the plaintiffs] version of the facts, [the officer] behaved reasonably in
the light of the circumstances before him.” Galvez v. Bruce, 552 F. 3d 1238, 1243 (11% Cir.

2008)(citation and internal quotation marks omitted), quoted in McKnight at LEXIS 18.
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Plaintiff, at the time of the incident, was not a convicted prisoner. Thus, his rights did not
arise under the Eight Amendment. However, in practical effect, Plaintiff's claims regarding the
denial of medical care are subjected to the same minimum standard of care as that allowed by the
Eight Amendment. Cook ex rel. Tessier v. Sheriff of Monroe County, Fla., 402 F. 3d 1092, 1115
(11" Cir. 2005). Therefore, this Court must give these Fourteenth Amendment claims the same
scrutiny as if they were brought under the Eight Amendment. Melton v. Abston, 841 F. 3d 1207,
1220 (11" Cir. 2016)(citing in McKnight, 2018 U.S. Dist. LEXIS 19).

To establish deliberate indifference to a serious medical need, Plaintiff must shoulder
three burdens; he must satisfy the objective component (showing he had a serious medical need),
the subject component (showing the official acted with deliberate indifference to his serious
medical needs), and causation (showing the injury was caused by the Defendant’s wrongful
conduct). Goebert v. Lee County, 510 F. 3d 1312, 1326 (11" Cir. 2007)(citing in McKnight,
Ibid.); see also Taylor v. Adams, 221 F. 3d at 1258.

C. Argument

Before addressing Miller’s rationale for invoking qualified immunity, Plaintiff directs
this Court to his complaint, ECF No. 1, p. 5, #7; p. 6, #16; p. 7, #24-25; p. 8, #30. Plaintiff
properly pleaded that Defendant Miller illegally searched him and seized an item Miller alleged
was crack cocaine. Ibid. Plaintiff's Fourth Amendment rights to be free of warrantless search
and seizure are clearly established; likewise, in Article I, 12 of the Florida Constitution, See
Beck v. State of Ohio, 379 U.S. 89, 13 L. Ed. 2d 132, 85 S. Ct. 223 and Crawford vy. State of
Florida, 980 So. 2d 521 (Fla. App. 2007). Miller has not moved for summary judgment on the

illegal search and seizure; therefore he has waived his right to do so. See ECF No. 17, generally;

 
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Carvell v. Kinsey, 80 So. 2d 577, 579 (Fla. 1956), quoted in City of Deland v. Miller, 608 So. 2d
121, 122 (Fla. 5 DCA 1992).
1. Defendant Miller is Not Shielded From Suit Under the Doctrine of Qualified Immunity

Defendant Miller has asserted that he is entitled to qualified immunity because his
conduct violated “no clearly established statutory or constitutional rights of which a reasonable
person would have known.” Post v. City of Fort Lauderdale, 7 F. 3d 1552, 1556 (11" Cir.
1993); ECF. No. 17, p. 6. He claims his actions were “objectively reasonable,” shielding him
from Brooks’ Fourth Amendment claims. Graham, 490 U.S. 396 (1989); Ibid.

However, “[Q]ualified immunity is, as the term implies, qualified. It is not absolute. It
contemplates instances in which a public official’s actions are not protected.” Kingsland y. City
of Miami, 382 F. 3d 1220, 1233; 2004 U.S. App. LEXIS 18409 (11™ Cir. 2004). “The agents in
Post simply made a good-faith mistake, whereas here, the officers’ conduct creates factual issues
as to their honestly and credibility.” Id.

“The non-movant’s response must be tailored to the method by which the movant carried
its initial burden.” Hinson v. United States, 55 F. Supp. 2d 1376, 1380 (S.D. Ga. 1998), aff'd,
180 F. 3d 275 (11" Cir. 1999). Accordingly, Miller knew or should have known that Brooks had
a clearly established Fourth Amendment right to be free from false arrest: “It is clearly
established that an arrest made without probable cause violates the Fourth Amendment.” Von
Stein v. Brescher, 904 F, 2d 572, 579 (11™ Cir. 1990)(quoted in Kingsland, 382 F. 3d at 1232).
Brooks had a clearly established right to be free from Miller’s use of excessive force: “The
Fourth Amendment’s freedom from unreasonable searches and seizures encompasses the plain
right to be free from the use of excessive force in the course of an arrest.” See Graham, 490 USS.

386 at 394-95 (quoting in Lee, 284 F. 3d at 1197).
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Likewise, Miller’s assertions that his actions were “objectively reasonable” must be
examined in light of the three factors outlined in Graham: “... the severity of the crime at issue,
whether the suspect poses an immediate threat to the safety of the officers or others, and whether
he is actively resisting arrest or attempting to evade arrest by flight.” (Wbid., 384 F. 3d at 1197-
1198).

The crime at issue is a non-criminal traffic infraction. Florida Statute § 318.14. Miller
has made no showing, nor has he alleged, that Brooks posed any threat to himself or others, that
Brooks actively resisted arrest, or that Brooks attempted to flee. Miller fails to satisfy the
Graham factors and cannot claim qualified immunity under the objective reasonableness
standard for the use of force.

Additional proof of Miller’s ineligibility for qualified immunity follows below as
Plaintiff refutes Miller’s defenses, numbered 2, 3, 4, and 5 below.

2. Defendant Miller Had No Probable Cause to Arrest Plaintiff Brooks

The primary problem with Miller’s arrest of Brooks is simply this: driving without a valid
driver’s license is a non-criminal traffic infraction. Florida Statutes § 318.14. An infraction is
defined in Rule 6.040(k) Florida Rules of Traffic Court (2016) as “a non-criminal traffic
violation that is not punishable by incarceration...” (emphasis added). Rule 6.040(i) defines a
criminal traffic offense as “a violation that may subject a defendant upon conviction to
incarceration.” Fl. R. Traffic Court (2016). Miller gave sworn testimony that Brooks “was
arrested for this criminal traffic infraction,” in his response to Interrogatory #4. Plaintiff's
Exhibit D, p. 2. Miller attempts to conflate “criminal traffic offense” and “infraction” (a non-
criminal traffic violation) to conceal his violation of Brooks’ clearly established statutory right to

be free of arrest for a simple traffic violation where arrest is not permitted by Florida Statutes §

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318.14.! bid. Miller cannot plead to a mistake of law: he is heard on the audio track of the
MAVRIC video telling Brooks that if he hadn’t found the alleged drugs on Brooks he would
only have written a citation. Defendant’s Exhibit C at 23:26. The statutory legality of Brooks’
arrest is a material fact in dispute. Further, “[i]n 2003, the Eleventh Circuit held that an officer’s
mistake of law can never provide the objective grounds for probable cause, even if the mistake of
law is reasonable or grounded in good faith.” United States v. Chanthasouxat, 342 F. 3d 1271,
1277, 1279 (11" Cir. 2003)(cited in Rance v. Mays, LEXIS 193486, Footnote 9 (S.D. Fla. 2016).

Brooks also had a clearly established statutory right to be informed prior to any physical
contact or actual restraint by the arresting officer of his authority to make the arrest, and the
cause of arrest. F.S. § 901.17 states, “A peace officer making an arrest without a warrant shall
inform the person to be wsteskd sof the officer’s authority and the cause of arrest except when the
person flees or forcibly resists before the officer has an opportunity to inform the person or when
giving the information will imperil the arrest.” Miller did not inform Brooks of the cause of
arrest until four and a half minutes after slamming Brooks into the side of the car and shouting,
“Put your hands behind your back.” Defendant’s Exhibit C at 2:17, 6:48. Miller has never
alleged that Brooks tried to flee or forcibly resist, nor has he shown that complying with Florida
law would have imperiled the arrest. ECF No. 17, passim. Miller knew he was violating F.S.
901. Plaintiff's Exhibit G, (1B), IV A.

Miller alleged that “[A]s seen clearly on the video, during a lawful search incident to

arrest, Officer Miller found an illegal substance—crack cocaine—on Plaintiffs person.” ECF

 

! Chapter 74-377, Laws of Florida reads: AN ACT relating to the adjudication of traffic
infractions; creating chapter 318, Florida Statutes, to be known as the “Florida Uniform

Disposition of traffic infractions act.” (emphasis added).
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No. 17, p. 8, lines 19-21. He then states he “had probable cause to arrest Plaintiff for that
violation of law as well.” Jbid., p. 8, line 21, p. 9.

While Miller’s first search of Brooks is captured on video (Defendant’s Exhibit C_at

 

approx. 4:34 to 5:39), the lawfulness of that search is a material fact in dispute, as is the actual
identity of the substance Miller found. Brooks has conclusively proven that Miller’s decision to
arrest him for a non-criminal traffic infraction, in violation of Florida law, renders that arrest
invalid. The Florida Supreme Court examined a similar set of circumstances in Doctor v. State,
596 So. 2d 442, 446; 1992 Fla. LEXIS 502; 17 Fla. L. Weekly S 167 (Fla. 1992), finding that
cocaine detected after an illegal traffic stop and ensuing pat-down of Doctor should have been
suppressed because the initial stop was illegal.
“In Kehoe v. State, 521 So. 2d 1094, 1096 (Fla. 1988), this Court observed

that “when the police realize that they lack a founded suspicion, they sometimes

attempt to justify a stop on some obscure traffic violation.” We held that a stop

will not be valid just because an officer could have lawfully made the stop

because, “although it is the easiest test to follow, the Fourth Amendment

constraints on intrusive searches and seizures transcend other concerns.” Id. at

1097. We emphasized that: Allowing the police to make unlimited stops based

upon the faintest suspicion would open the door to serious constitutional

violations.”
Doctor, 596 So, 2d at 446.

The Florida Supreme Court stated a more stringent rule: “This court, however, will not
allow officers to get around the Fourth Amendment’s mandate by basing a detention upon a pure
pretextual stop. The State must show that under the facts and circumstances a reasonable officer
would have stopped the vehicle absent an additional invalid purpose.” Kehoe, at 1097 (quoted in
Doctor, at 446).

Brooks’ circumstances resemble Doctor’s: in Doctor, officers of the Florida Highway

Patrol were operating a drug interdiction program. Jd. at 446. Miller stated he was on uniformed

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patrol in the area of Golf Terrance. Plaintiff's Exhibit D, #1. The inference is that his encounter
with Brooks was random. However, Miller’s Tallahassee Police Department Incident Report
states he was dispatched there to investigate “drug activity.” Plaintiffs Exhibit A, p. 1. In
Doctor, “The officers conceded they had no reasonable suspicion of any criminal activity until
after the stop when Doctor exited the vehicle and they saw the bulge.” Doctor, at 446.
Likewise, Miller has freely admitted that “he did not have a basis for a criminal stop” at the time
he approached Brooks. Plaintiff's Exhibit D, #11.

Other evidence of the pretextual nature of Miller’s stop is found in Defendant’s Exhibit
C, the MAVRIC video. Miller has stated under oath that he “followed the car as part of
proactive policing and to initiate a consensual encounter.” Plaintiff's Exhibit D, #11. Miller
justified his arrest of Brooks based on an alleged admission obtained during this consensual
encounter. Jd. #6. However, Miller did not follow the car (the black KIA) and could not have
seen who was driving it. Defendant’s Exhibit C.

An unidentified white male TPD officer is shown following directly behind the KIA. Jd.
He pulls off to the right of the KIA as it is stopping. Jd. Miller’s car stops behind the first
officer on the scene. Jd. Four officers are shown at the scene: Miller, who is an African-
American, and three unidentified white male officers. Jd. at 1:54.

Miller does not reveal at any point in his PCA, TPD Incident Report, or his sworn
responses to interrogatories that he was working in concert with 3 other officers. Defendant’s
Exhibit A, Plaintiffs Exhibit A, Plaintiff's Exhibit D, passim. Miller failed to produce a single
incident report or any other document written by the 3 other TPD officers at the scene in
response to Plaintiff's first request for Production of Documents. Plaintiff's Exhibit E, #11. The

documents produced are the TPD Incident Report (Bates #226-229) and TPD Property and
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Evidence Receipt (Bates #230), both written by Miller. Plaintiff's Exhibits A and C. No written
report or field test results of the alleged cocaine were produced by Miller, nor any lab analysis
confirming the putative results. The alleged field test is not captured on the video.

Miller has sworn that his initial encounter with Brooks was a “consensual encounter.”
Plaintiff's Exhibit D, #’s 2-4 and 6-11. Miller is fully aware of what constitutes a consensual
encounter: “...one in which an officer approaches an individual with no reasonable suspicion or
probable cause that a crime is being committed, during which time a civilian may terminate the
interaction with an officer.” Jd, at #11. Miller stated that “he did not have a basis for a criminal
stop at that moment, which makes this a consensual encounter.” Jd. He then “developed
probable cause for Plaintiff’s arrest for driving without a license.” Jd.

The consensual nature of Miller’s encounter with Brooks is a genuine issue of material
fact in dispute. Brooks has properly alleged that when he sought to terminate the encounter,
Miller “grabbed [him] and slammed him into the patrol vehicle.” ECF No. 1, p. 5 #5. Miller has
presented no evidence to refute that claim.

Given the numerous conflicts between Miller’s account of events and the facts taken
from the MAVRIC video, supra, the pretextual nature of Miller’s account can be reasonably
inferred from the evidence.

“In sum, there can be no question that the stop here was pretextual since police had
neither reasonable suspicion of criminal activity nor a valid basis for a traffic stop. Because the
stop was illegal, the seizure was invalid and the cocaine should have been suppressed.” Doctor,
at 446. As established above, both Miller’s “consensual encounter” and decision to handcuff
Brooks for a non-criminal traffic violation are pretextual; thus he had no probable cause to

search Brooks.

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Additional evidence supporting the pretextuality of Miller’s account can be found in his
Probable Cause Affidavit, TPD Incident Report, and the Florida Uniform Traffic Citation
(henceforth “FUTC”). Defendant’s Exhibit A, Plaintiff's Exhibits A and B. As in Kingsland,
Plaintiff contends that Miller made several deliberately false statements to support his arrest, in
violation of Florida Statute § 839.13(2). ECF No. 1, p. 7, #21; p. 11, (D)Q1). Miller’s PCA was
used to support Plaintiffs arrest; this Court has adopted it as factual. See ECF No. 22, p. 3, lines
13-16. Both parties in the instant case agree that Brooks has never been issued a valid Florida

driver’s license, yet Miller entered DL# B620211732820 in the PCA. Defendant’s Exhibit A, p.

 

2. This is no mere harmless error. During discovery, Miller was asked why he did not prepare a
FUTC (“a ticket”). Plaintiffs Exhibit D, #5. He stated that “... for this criminal traffic
infraction ... an additional civil ticket was not required.” Jd. Brooks has proven that driving

without a valid license is a non-criminal traffic infraction, supra; however, even if it was a

 

criminal offense, Miller ignored Rule 6.165(a), Florida Traffic Court Rules: “All prosecutions
for criminal traffic offenses by law enforcement officers shall be by uniform traffic citation as
provided by § 316.50 Florida Statutes, ...or by affidavit... as provided for in the Florida Rules of
Criminal Procedure. If prosecution is by affidavit... a uniform traffic citation shall be prepared
by the arresting officer...” Florida Traffic Court Rules (2016).

Miller’s disingenuous sworn response to interrogatory #5, aside from being untrue,

implies that no FUTC was written. Plaintiff's Exhibit D #5. However, through discovery

 

Brooks obtained a copy of FUTC A3QI81E, Bates #055. Plaintiff's Exhibit B. The FUTC
contains several falsified entries which were the subject of timely-filed discovery requests
ignored by Miller’s counsel, and which support Brooks’ allegation that Miller’s story is

pretextual; see Plaintiff's Exhibits B and H.
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1. The name entered on the FUTC is Eric C. Brooks; Plaintiffs legal name is Eric K. Brooks; he
has never used Eric C. Brooks as an alias. Jd.

2. The FUTC alleges that “Eric C. Brooks” lived at Plaintiff's legal address, 3216 Jim Lee Rd.
Apt. 1, Tallahassee, FL 32305; Plaintiff avers that this is not true. Jd.

3. The FUTC contains Plaintiff's date of birth, August 2, 1973. Id.

4. The FUTC states that Eric C. Brooks has a Class E license that expires in 2018; Plaintiff freely
admits he has never had a Florida driver’s license. Jd.

5. The box for “Criminal Violation — Court Appearance Required” is marked; Plaintiff has
shown per F.S. § 318 that driving without a valid driver’s license is a non-criminal traffic
infraction.

6. Eric C. Brooks*height on the FUTC is 5’4”; Plaintiffs height is 56”. Jd.

7. Miller marked the box certifying he delivered the FUTC to Brooks; Brooks never saw the
FUTC until it was provided to him in discovery in the instant case. Jd.

In toto, the FUTC contains seven separate false entries. Jd. Plaintiff argues that seven
falsified entries on a State document cannot be dismissed as mere “scrivener’s errors.” Miller’s
final false entry, certifying that he delivered the FUTC to Brooks when he did not do so, and
failing to properly process the citation so a traffic hearing could be scheduled, violates TPD
Rules of Conduct and Florida law:

“3. Members shall not attempt to have any traffic citation or notice to appear

reduced, voided, or stricken from the court calendar without due cause.”

Plaintiff's Exhibit F, V.3 (Bates #035). See also Plaintiff's Exhibit G, LA.
and

Improper Disposition of a Traffic Ticket: “any person who solicits or aids in the

disposition of a traffic complaint or summons in any manner other than that
authorized by the court or who willfully violates any provision of these rules shall

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be proceeded against for criminal contempt.” Rule 6.080 Florida Traffic Court
Rules (2016).

 

Miller has never made any showing that he had due cause to violate TPD Rules of
Conduct; nor has he claimed authorization by the court to falsely certify to the delivery of FUTC
A3QI81E or to impede the scheduling of a traffic court hearing to afford Brooks the lawful
disposition of the non-criminal traffic infraction that Brooks was entitled to by Florida Statutes.

The material relevance of these falsified state documents is threefold: first, they attest to
Miller’s lack of credibility; second, they support Brooks’ false arrest claim (Miller “plotted a
reason to hold [Brooks] on scene,” ECF No. 1, p. 7, #21); and third, they demonstrate Miller’s
reckless disregard of clearly established statutory law during the course of the arrest.

Plaintiff has proven that the Probable Cause Affidavit and FUTC are falsified state
documents, as he alleged in the Complaint (/d. at p. 11(D)(1)) and as defined in Florida Statutes
§ 839.13(2). These falsified documents support the basis of Miller’s false arrest of Brooks; a
reasonable person could infer that Miller’s intent was to fabricate a veneer of legitimacy for his
unlawful actions.

The plaintiff in Kingsland “contends that the defendants made several
deliberately false statements to support her arrest, in violation of the law. She
cites Holmes v. Kucynda, 321 F. 3d 1069 (11™ Cir. 2003), in which we held that
qualified immunity “does not offer protection if an officer knew or reasonably
should have known that the action he took within his sphere of official
responsibility would violate the constitutional rights of the plaintiff.” Jd. at
1077... In Holmes, we reversed the grant of qualified immunity and summary
judgment to police officers where there existed factual questions regarding
whether the officers filed a recklessly false application for an arrest warrant. Id.
at 1083-84. Based on the facts of the case, the panel found that the district court
could not conclusively determine that the officer’s affidavit was not made in
“reckless disregard of the truth.” Jd. at 1084. Likewise, there are questions of
fact in this case regarding the integrity of the evidence which is to form the basis
of an arguable probable cause determination.

Viewed in the light most favorable to Kingsland, the facts support a
conclusion that the arrest affidavit included recklessly or deliberately false

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statements that are material to a finding of probable cause or arguable probable
cause, as alleged, reasonable officers in the same circumstances and possessini
the same knowledge as the defendants could not have believed that probable
cause existed to arrest the plaintiff. Because a jury question exists as to whether
the defendants constructed evidence upon which to base Kingsland’s arrest, the
question whether probable cause existed is aptly suited for a jury.” Kingsland, at
382 F. 3d 1233.

As in Kingsland, Brooks contends that Defendant Miller made deliberately false
statements in the Probable Cause affidavit. The Probable Cause Affidavit provided the basis for
Brooks’ arrest. That arrest resulted in a 346-day incarceration. At best, the question whether
probable cause existed is properly suited to a jury trial; as shown, Miller knowingly violated
Brooks’ statutory and constitutional rights.

Miller’s assertion that his “lawful search” of Brooks gave him probable cause to arrest
him for that violation runs contrary to the Supreme Courts holding in State v. Perkins, 760 So. 2d
85 (Fla. 2000). ECF No. 17, p. 8, lines 19-21. In Perkins, the State conceded that the officer did
not see Perkins commit any traffic violations, or any other activity justifying a stop. Jd.
Accordingly, the trial court held the stop unlawful. Jd. at 86.

“In Wong Sun v. United States, 371 U.S. 471, 83 S. Ct. 407, 9 L. Ed. 2d
441 (1963), the Court established the test to be applied when determining whether
a Fourth Amendment violation requires the suppression of seized evidence: We
need not hold that all evidence is “fruit of the poisonous tree” simply because it
would not have come to light but for the illegal actions of the police. Rather, the
more apt question in such a case is “whether, granting establishment of the
primary illegality, the evidence to which instant objection is made has been come
at by means sufficiently purged of the primary taint.” Jd. at 487-88, 83 S. Ct. 407
(quoting John MacArthur Maguire, Evidence of Guilt, 221 (1959)).” Perkins, at
88.

“Tt is clear in the instant case the evidence required to prosecute the charge
of driving with a suspended license came directly from the exploitation of the
unlawful stop. We agree with the Fourth District and find “no basis for
distinguishing the circumstances from others in which evidence must be
suppressed, as fruit of the poisonous tree, where discovered following an unlawful
stop.” Perkins, 730 So, 2d at 482; e.g., Delaware v. Prouse, 440 U.S. 648, 99 S.
Ct. 1391, 59 L. Ed. 2d 660 (1990)(affirming suppression of marijuana found in

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plain view as the fruit of an unlawful stop where the driver was randomly stopped

solely to check his driver’s license and registration and the State offered no

empirical data to support its claim that the stop was justified by a broad concern

for highway safety.)” Perkins, at 88.

As in Perkins, Miller admitted that he did not see any evidence of criminal activity, nor
did he have probable cause to arrest Brooks. Plaintiff's Exhibit D, #11. Like Perkins, Brooks’
encounter with Miller involved exploitation of the unlawful arrest for driving without a valid
license. The alleged cocaine Miller has sworn that he found can only be “fruit of the poisonous
tree,” as the Supreme Court held in Wong Sun, and should be removed from any consideration of
the merits of this case.

Miller can be seen going into Brooks’ pockets on the MAVRIC video. Defendant’s
Exhibit C at 4:34-5:39. This unlawful search exceeds the permissible boundaries established in
Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1868, 20 L. Ed. 2d 889, 1968 U.S. LEXIS 1345 (1968), as
analyzed in Minnesota v. Dickerson, 508 U.S. 366, 379, 124 L. Ed. 334, 113 S. Ct. 2130 (1993):
“Rather, the officer determined the item was contraband only after conducting a further search,
one not authorized by Terry or any other exception to the warrant requirement. Because this
further search of respondent’s pocket was constitutionally invalid, the seizure of the cocaine that
followed is likewise unconstitutional.” (emphasis added). Miller has never alleged that he feared
for his safety or that Brooks was armed; therefore, any search exceeding a Terry patdown is a
Fourth Amendment violation. In no way can this search be described as “lawful” under the
Terry doctrine.

Based on the record evidence before this Court, Defendant Miller cannot be granted

summary judgment or qualified immunity from Brooks’ false arrest claim, Count I.

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Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 17 of 45

3. Defendant Miller Used Excessive Force Against Brooks Which Cannot be Dismissed_as de
minimis

Miller’s use of force is a material fact in dispute, yet Miller states, “Plaintiffs claim that
Officer Miller “slammed Plaintiff against his patrol vehicle” is demonstrably false per the
undisputed video evidence and need not be considered in this analysis.” ECF No. 17, p. 9, lines
20-21, p. 10, line 1. This disingenuous statement ignores the fact that Miller’s initial contact
with Brooks occurs off-camera; thus, nothing is “clearly shown,” as Miller asserts elsewhere. Jd.
at p. 4, lines 4-6; Defendant’s Exhibit C, 00:01 through 4:24. However, the audio track clearly
captures the impact of Brooks’ body being slammed into a solid object hard enough to make an
audible noise on tape. Defendant’s Exhibit C at approx. 2:14. Nothing in the video or audio
proves or even suggests that Brooks’ allegations of excessive force are “demonstrably false,” as
Miller asserts. ECF No. 17, p. 4, line 17, p. 9, line 21; Defendant’s Exhibit C, passim.
Defendant’s statements about his malicious and sadistic overtightening of Brooks handcuffs are
equally disingenuous. ECF No. 17, p. 4, lines 8-13. The second excessive force violation occurs
when Miller places handcuffs on Brooks for the second time after publicly strip searching him.
Defendant’s Exhibit C at 8:59. This cannot be seen because the video goes black at 8:40;
however, at that point Brooks has been led off-camera and only Miller’s audible commands to
undress in the street can be heard. Jd. Whenever Brooks attempts to complain of the pain caused
by his handcuffs, the audio captures music playing loudly inside the squad car, an anomaly from
which a reasonable person could infer that Miller was drowning out Brooks’ pleas for help. Jd.
at 41:41. Given the facts contained in Brooks’ Complaint, he has properly pleaded two separate

violations of Miller’s violation of his Fourth Amendment right to be free of excessive force.

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Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 18 of 45

The Graham “reasonableness” standard proves helpful in assessing the totality of the
circumstances. The decision to slam Brooks into a squad car prior to handcuffing him cannot be
“reasonably proportionate” for the non-criminal infraction of driving without a license. See Lee,
284 F. 3d at 1198 (“Graham dictates unambiguously that the force used by a police officer in
carrying out an arrest must be reasonably proportionate to the need for that force, which is
measured by the severity of the crime, the danger to the officer, and the risk of flight.”) Miller
has not alleged that Brooks posed any danger to him; his decision to remove Brooks’ handcuffs
before making him remove his clothing in public indicates that Miller had no concerns that
Brooks would flee, negating any notion that Brooks was at risk of flight.

It is established that any force employed in a false arrest is excessive; see Thornton vy.
City of Macon, 132 F.3d 1395 (11™ Cir. 1998). Miller’s bare assertions to the contrary and his
attempts to minimize Brooks’ pain and injuries cannot overcome Brooks’ version of the facts for
purposes of summary judgment. “At summary judgment, we cannot simply accept the officer’s
subjective version of events, but rather must reconstruct the event in the light most favorable to
the non-moving party and determine whether the officer’s use of force was excessive under those
circumstances.” Fils v. City of Aventura, 647 F. 3d 1272, 1288 (11" Cir. 2011)(cited in
McKnight v. Garriott, 2018 LEXIS 195489 (2018)).

In Lee, the 11" Circuit distinguished the plaintiffs excessive force claims from
Rodriguez, Gold, Jones, Nolin, and Post (all but Jones cited in Defendant’s argument to treat
Brooks’ injuries as de minimis) because Lee’s criminal offense was “undeniably less significant
than those for which the plaintiffs in the other cases were arrested. Lee, 284 F. 3d 1199.
(“Moreover, the facts alleged by Lee take this case outside the realm of cases in which we have

granted qualified immunity on the ground that the force used and injury sustained were de

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Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 19 of 45

minimis. First, the crime at issue in this case was undeniably less significant than the crimes in
any of the other cases we have considered.”) Jd. Because Brooks’ injuries resulted from Miller
slamming him into a car prior to arresting him for a non-criminal offense, the 11" Circuit’s
reasoning in Lee must defeat Miller’s defense. Brooks’ injuries are a material fact in dispute
until Brooks is allowed to complete his discovery requests for the relevant medical records from
the Leon County Detention Center reflecting a doctor’s diagnosis and the palliative care Brooks
received.

Defendant Miller cannot claim qualified immunity for Brooks’ claim of excessive force
because he has not refuted the facts Brooks pleaded in his Complaint; thus, summary judgment

should not be granted for Claim II, Excessive Force.

4, Defendant Miller Is Not Entitled to Qualified Immunity for Denying Plaintiffs Pleas for
Medical Attention

Brooks alleged in his Complaint that Miller “sadistically and maliciously” overtightened
his handcuffs and that the lengthy delay resulted in numbness and pain in his wrists and arms.
Further, he avers that the impact from being slammed into a squad car by Miller inflamed and
aggravated an earlier shoulder injury. Declaration #8. Finally, the effects of both the impact and
the handcuffing caused persistent pain in his wrists, shoulders, and arms along with numbness in
his hands for up to two months after his arrest. Declaration #9. He took OTC pain medications
while housed at Leon County Detention Center. Declaration #10. He went to sick call at the jail
when those medications were not effective. Declaration #11.

Miller asserts that “the Eighth Amendment has no application to [Brooks’] claim.” ECF

No. 17, p. 11, lines 14-15. However, in practical effect, Plaintiffs claims regarding the denial of

 

medical care are subjected to the same minimum standard of care as that allowed by the Eight

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Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 20 of 45

Amendment. Cook ex rel. Tessier v. Sheriff of Monroe County, Fla., 402 F. 3d 1092, 1115 (11"
Cir. 2005)(cited in McKnight v. Garriott, 2018 U.S. LEXIS 20). Therefore, this Court must give
these Fourteenth Amendment claims the same scrutiny as if Plaintiff had brought these
Fourteenth Amendment claims under the Eight Amendment. Melton v. Abston, 841 F. 3d 1207,
1220 (11 Cir. 2016)(addressing allegations of deliberate indifference to the serious medical
needs of a pretrial detainee)(cited in McKnight, at 20).

Plaintiff must meet the three prongs set out in Goebert: objective, subjective, and
causation. McKnight, supra. Brooks has alleged that Miller’s actions in slamming him and
handcuffing him aggravated an old shoulder injury, leading to persistent pain over a period of
two months, and that Miller ignored Brooks’ pleas for medical attention, going as far as to turn
up the radio in his squad car to obscure his words. Brooks avers that the extent of his injuries is
a material fact in dispute which cannot be resolved at the summary judgment stage, particularly
given the premature closing of discovery, and that the facts pleaded above are sufficient to meet
the Goebert standard for deliberate indifference to Brooks’ medical needs.

Accordingly, Miller’s request for summary judgment for Claim III, Denial of Medical
Care, should not be granted.

5. Miller’s Defense of Qualified Immunity Must fail Because He Violated Clearly Established
Statutory Laws and Constitutional Rights

Plaintiff Brooks respectfully submits that the foregoing Argument has demonstrated that
Miller broke numerous Florida laws and clearly established constitutional rights during his false
arrest of Brooks and the ensuing illegal search and seizure; that Miller battered Brooks prior to
the arrest; that he deliberately overtightened Brooks’ handcuffs to inflict unnecessary pain on

Brooks, and that he falsified three State documents, i.e. the Probable Cause Affidavit, TPD

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Incident Report, and Florida Uniform Traffic Citation, to create a pretext for his actions.
Therefore, qualified immunity is not available to Defendant Miller.
* * *

Before concluding this Opposition, Plaintiff asks the Court to take notice of the clear
evidence of tampering contained in Defendant’s Exhibit C. The opening frames show the back
of the black KIA directly. The camera then switches to a view of the unidentified white officer’s
squad car as he stops, gets out, turns to look back at Miller’s camera, then gets back in. The
opening footage cannot be Miller’s dashcam; MAVRIC #100711.

More troubling are the series of blacked out passages at 8:40, and 37:30, the odd jump at
18:00, and the blackouts at 23:50 and 24:46, with the sound of a white officer cursing as he does
something apparently connected with these breaks in continuity. Fortunately for the Plaintiff,
what segments Defendant’s counsel provided appear to support Brooks’ version of events, but
the purpose of creating an accurate record of police/civilian interactions is negated by such
shoddy recordings, if that is the result for which dash cameras are installed.

D. CONCLUSION

Defendant Miller has failed to meet the burden of properly supporting his Motion for
Summary Judgment. Notably, two of his three exhibits contain proven falsehoods or show the
Defendant engaging in behavior which is clearly at odds with what a reasonable officer would do
under the same circumstances. Miller’s statement that it is “of no consequence that these charges
were later dropped” (ECF No. 17, p. 9) shows a cavalier disdain for Plaintiff's civil rights and
the Florida laws Miller swore to uphold, to say nothing of Plaintiff’s eleven month stay in jail

without lawful justification. Qualified immunity does not cover willful malfeasance.

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What evidence this Court has allowed Plaintiff to obtain through discovery supports his
version of facts, not Miller’s pretextual story. Finally, as noted above, Miller has failed to move
for summary judgment on the Fourth Amendment claim of illegal search and seizure which is
amply alleged in the gravamen of Brooks’ Complaint.

WHEREFORE, all premises considered, Plaintiff moves this Court to deny Miller’s
assertions of qualified immunity, deny his Motion for Summary Judgment for each claim, reopen
the discovery that was stayed to hear Defendant’s Motion, and allow this action to proceed to
trial on the material facts in dispute.

Respectfully submitted,

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pyptie i, fEUOL?
ERIC K. BROOKS, Plaintiff #582151
Tomoka Correctional Institution

3950 Tiger Bay Road

Daytona Beach, Florida 32124

CERTIFICATE OF COMPLAINCE WITH LOCAL RULE 7.1 N.D. Fla.
I CERTIFY that the foregoing Opposition and Memorandum of Law contains 6,827

words.

ERIC K. BROOKS, Plaintiff #582151

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that I have provided a copy of this Opposition to Summary
Judgment to this Court and to Defendant’s counsel, Hannah Monroe, 300 S. Adams St., Box A-
5, Tallahassee, FL 32301, by furnishing it to prison mail officials for prepaid first class U.S. mail
tt
on this Va day of August, 2020.
Lo. et? TZ. LE 2c Pg”
ERIC K. BROOKS, Plaintiff #582151
Tomoka Correctional Institution

3950 Tiger Bay Road
Daytona Beach, Florida 32124

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Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 24 of 45

PLAINTIFF’S EXHIBITS
A. Tallahassee Police Department Incident Report, Bates #226-229
B. Florida Uniform Traffic Citation A3QI81E, Bates #055
C. Tallahassee Police Department Property and Evidence Receipt, Bates #230
D. Defendant’s Answers to Interrogatories
E. Defendant’s Response to Plaintiff’s First Request for Production of Documents
F. Tallahassee Police Department Rules of Conduct, Bates #027, 035.
G. Tallahassee Police Department Rules of Conduct, Bates # 002, 007.

H. Declaration in Support of Plaintiff's Opposition to Summary Judgment

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Declaration In Support of Plaintiff's Opposition to Summary Judgment
I, Eric’ K. Brooks, hereby make the following declaration under penalty of perjury:
1. Tam the plaintiff in Brooks v. Miller, case # 4:1 9-cv-0524-MW/MAF.,
2. My legal name is Eric K. Brooks; I have never been known by Eric C. Brooks or used that
name as an alias.
3. No person named Eric C. Brooks lived with me at 3216 Jim Lee Road, Apt. # 1, Tallahassee,
FL 32305 at the time of my arrest on November 12, 2016.
4. My date of birth is August 2, 1973.
5. Ihave never been issued a Florida driver’s license.
6. My height is 5’6”.
7. I was never delivered a copy of FUTC A3QI81E and did not become aware of it until it was
produced in discovery.
8. I suffered additional pain and inflammation of a pre-existing shoulder injury following my
arrest after Defendant Miller slammed me into a car.
9. The pain persisted for almost 2 months after my arrest, including episodes of numbness in my
hands, wrist pain, and elbow pain.
10. I regularly took OTC pain medication in the Leon County Detention Center.
11. When that proved ineffective, I went to sick call and sought medical treatment.

I swear the foregoing is true and correct.

kesbecttully SubMitfted
Fale “i, Byty

Exhibit H

 

 
Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 26 of 45 .

| _ Tallahassee Police Department

Report: 11/12/2016 16:24
Case Number: 00-16-037025

Incident Report .

 

Incident
Case Number: Date Of Report:
00-18-037025 11/12/2016 16:24

Occured To:
41/12/2016 15:16

Occured On From:
11/12/2016 16:16 _

Report Type:

Original - Arrest Affidavit

 

 

incident Type:
Criminal Offense

 

Department Case
Status: Case Status Date:
Closed - Cleared By Arrest

Cleared:

 

 

 

Business Name: ,
2516 Golf Terrace Tallahassee Florida

 

 

 

Day of Ocurrence: Saturday

Dispatched: 11/12/2016 15:16

Received: 11/12/2016 15:16

Arrived: 11/12/2016 15:16

Reported Via 9114 Yee No: No

Was Evidence Collected: Yes

Evidence Collected From: Person(s)
Photos Videos Taken: Yes - in Car Camera

Offense 1 - original offense

Digital Cam and Vehicle Video Number: 100711
Photos Video Taken by: Ofc D Miller

Specific Location Type: Streel/Road/Highway/interstate
Hate Crime UCR: No

Confidentiality Req: No ea

Juvenile involved: No

District Zone: Charlie-4A

 

Florida Statute:
322.03(1) Operate Motor Vehicle
WO Valid License

 

 

Local Ordinance:

Lighting Conditions: Disposition Date:
Daylight 11/12/2016

 

 

 

 

Offense Information

Attempted/Commited: Committed
Premise Type: Residentiat

Number Of Premises: 04

Entry Type: Nol Applicable

Suspect Characteristics: Drug Activity

Roles

Person Name: Eric K Brooks
Type: Arnestee

Offense 2 - original Offense

Occupancy Code: Not Applicable -

Offense Status: Cleared By Arrest - Adult
Exceptional Clearance: Arrested On Primary Offense
Number Of Peopte Arrested: 04

Primary Role: Yes

 

Florida Statute:
893:13(6A) Drugs/Narcotics-

 

 

Local Ordinance:

Lighting Conditions:

 

 

Disposition Date:

 

 

 

 

 

 

 

 

Possess Cocaine Daylight 11/12/2016
prting Officer: Jepartment: port Status: s
AMON MILLER 375 97017 allahassee Police Department Pprov a
upervising Officer: ate/Time: &
Verifying Officer: - epartment: Date/Time:
W BUTLER 21298291 Police Department 11/12/2016 17:00
, Page 1 of 4

Response to Request for Production

COT-000226

Exhibit A-4
Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 27 of 45

Tallahassee Police Department Report: 11/12/2016 16:21

Offense information
Attempted/Commited: Committed
Premise Type: Residential
Number Of Premises: 01
Entry Type: Not Applicable
Suspect Characteristics: Drug Activity

Roles

Person Name: Eric K Brooks
Type: Arrestee

- Person 1 - Eric k Brooks

Case Number: 00-16-037025
incident Report

Occupancy Code: Not Applicable

Offense Status: Cleared By Arvest - Adult
Exceptional Clearance: Arasted On Primary Offense
Number Of People Arrested: 01

Primary Role: Yes

 

 

 

 

 

 

 

 

 

Person Type: Home Phone: Business Phone: Mobile Phone Pager:
Arrestee
Race: Sex: DL 1D Number: DL. Exp. Date:
Black Mate
SSN: Birth Date: .
. 08/02/1973 Birth Place:
Person Address:
3216 Jim Lee Rd Tallahassee Florida (Leon County)
Employer Information:

 

 

Person Information
Age: 43

Business 1 - state of Florida

SPN JIS Number: 51-98-9

 

 

 

 

 

 

 

 

 

 

 

Business Type: Business Phone: Address:
Victim .
orting Officer: epartment: . eport Status: s
AMON MILLER 375 97017 ‘allahassee Police Departmen poved x
[PePervsing Omer: [Paterrime: g
Verifyin fyi g Officer i epartment: — — Date/Time: &
V BUTLER 212 98291 i Police Department 41/12/2016 17:00
7 Page 2 of 4
Response to Request for Production COT-000227

Exhibry A-2,
ny

Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 28 of 45

Tallahassee Police Department

Report: 11/12/2016 16:24
Case Number: 00-16-037025

 

 

Incident Report
Vehicle 1 - Florida Kia
. Vehicle Status Vehicle Disposition: VIN: :
Model Free Form: Left On Scene KNDJN2A29G736869
Tag Number: Tag Expiration Date: Vehicle Type: Category:
827QHG 11/18/2017 Auto Searched

 

 

 

Business Name:

 

 

Recovery Location Buss Name:

 

 

Vehicle Information
Primary Top Color: BLACK

Vehicle Style: Hatchback 2 door
insured: No

Property 1 - Drugs/Dnug Paraphemalia

Keys in Vehicte: Yes
Vehicle Locked: Unknown
Release Authority: Reporting Officer

 

 

 

Description: Year Make: Model:
Cocaine

Category: Condition Serial Number: Color:

* Evidence - HOLD WHITE

 

 

Stolen Location:

 

 

Recovery Location:

 

 

Property Information
UCR Type: Evidence - Hold

Document/Drugs

Drug Activity: Other - Explain in Narrative
Drug Type: Cocaine

Narrative 1 - Basic - Original Report

Insured: Evidence/Seized

Drug Quantity: 1.000 Gram (s)

 

PROBABLE CAUSE TEMPLATE - ORIGINAL REPORT

TIME OF ARREST (ARRESTEE IN PHYSICAL CUSTODY):
1518

DEFENDANT NAME: Eric Brooks

 

 

 

 

 

 

 

 

DOB: 8/2/73

jorting Officer: Department: port Status: 2
AMON MILLER 375 97017 allahassee Police Department Approved =
{Supervising Officer: oo Pattie:
Verifying Officer: epartment: ate/Time: m

W BUTLER 212 98291 Tallahassee Police Department 13/12/2016 17:00
ue Page 3 of 4

Response to Request for Production COT-000228

Exhibit A-3
Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 29 of 45

Tallahassee Police Department Report: 11/12/2016 16:21
Case Number: 00-16-037025

Incident Report

FACTS TO SUPPORT ABOVE CHARGE(S):
While on uniformed patrol | observed Brooks driving a black KIA bearing FL tag, 827QHG and park in front of 2516 Golf Terrance.
Brooks exited the vehicle and began walking towards other pedestrians that were gathered in the area.

| also drove to the area and exited my vehicle, and had e consensual contact with Brooks. When asked for his FL DL, Brooks stated that
he did not have a valid license. Based upon this omission and observing him drive to the area, | placed Brooks under arrest for No Valid
DL. While searching his left front jacket pocket, | found @ rectangular piece of crack cocaine. Brooks immediately stated that he was :
unaware that it was in his pocket. .

Post Miranda, that | read from a preprinted issued card, Brooks waived his rights and agreed to speak. Brooks admitted that he ;
received the cocaine from an unknown black male wearing a camo jacket that was previously in the area, and had never been issued a ‘
FL DL, which was confirmed via DAVID.

Brooks was additionally charged with Possession of Cocaine and transported to LCJ without incident.

Ofe Wirght tested the suspected crack cocaine which tested presumptive positive. This affiant impounded the cocaine at TPD
headquarters.

This interaction was captured vis MAVRIC #100711.

PLACE AN "X” IN FRONT OF ALL THAT APPLY:

Supplemental Reports Submitted
Victim Statement Submitted

Witness Statement(s) Submitted
Suspect/Arestee Statement Impounded

 

 

 

 

 

 

 

 

X Property Impounded
Vehicle Towed
orting Officer: epartment: Report Status: =
ON MILLER 37597017 ee Police Department ed g
pares Officer: Ss Paerime &
exifying Officer: , epartment: ate/Time: m
BUTLER 212 98291 assee Police Department 11/12/2016 17:00 |
— . " Page 4 of 4
Response to Request for Production COT-000229

Exhibit A-4
rn

Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 30 of 45

Aa

D

    

Agency
Name
Agency #
that on:

1912/2016
Name First Middie

JIM LEE RD APT 1

FL

Race
8

Driver - -
License | Stste | Ciass COL License Yr.
Number

Style ‘ Color
2016 | KIA ur BLK

State
FL
Material >=16

Street or Highway ar Other Location Namety

 

2516 GOLF TERRANCE
Fy Mies. OfNode
(1D Unvawrut spEEO MPH SPEED APPLICABLE MPH
CO wrerstaTe (7) sctooi zone [[] CONSTRUCTION WORKERS PRESENT }
SPEED MEASUREMENT DEVICE
(DD CARELESS DRING (C2) CHRD RESTRAINT Cae ie DRIVER LICENSE

( Wigton or TRAFFIC CO SAFETYBELT VIOLATION —_—[[} EXPIRED DRIVER LICENSE

 

 

MORE THAN SIX (6) MONTHS
(D) FALURETOSTOP ATA =) IMPROPER OR UNSAFE No
SORED TAG ORIVING WHILE LICENSE
CRBS OF 1D Sx (6 MONTHS OR Less 1 suisPeNnEn OR REVOKED
RE ING UNDER TH:
Dio PROOF OF IGURANGE 2 BRIRED TAG MO oOo :
D peet-oeway {C] IMPROPER PASSING * CES
BAL
OL NO DL-NEVER HAD ONE ISSUED ReBam —
OlYes &1No
Dt Seized
(J Yes Gx] No
3 -

 

CD Aggressive Driving | in Violation OF state Statite $22.03(1}

 

Crash Property Damage {elury to Bes Body Fatal

 

 

 

 

 

 

No
(3 Yes fXI.Ne te. $

 

 

EK} CRIMINAL VIOLATION COURT APPEARANCE REQUIRED AS INDICATED BELOW
CJINFRACTION COURT APPEARANCE REQUIRED AS INDICATED BELOW
oO INFRACTION WHICH DOES NOT REQUIRE APPEARANCE IN COURT

 

 

 

 

 

 

 

Civit Penalty Is § _0.00 A3QI81E
Court infarmation 1:30 PM
, ‘CATE ThE
COURT
LOCATION
Arrest Detivered To Lv __ Date 11/42/2016

 

| AGREE AND PROMISE TO COMPLY AND ANSWER TO THE CHARGES AND INSTRUCTIONS

SPERCIRED IN THIS CITATION. WILLFUL REFUSAL TO ACCEPT AND SIGN THE CITATION MAY
. RESULTIN ARREST, 1UNDERST

. (AND MY SIGNATURE IS NOT AN ADISQON OF GUILT OR
WAIVER OF RIGHTS, IF YOU NEED REASONABLE FACKITY ACCOMMODATIONS TO COMPLY
WITH THIS CITATION, CONTACT THE CLERK OF THE COURT. .

 

 

 

* on inci’ ”
a MILEERYUR, 376 376 PATROL
Rank- Namg"orOnicer BadgeNo. [DNo.  Troop/Unit

&@; CERTIFY THIS CITATION WAS DELIVERED TO THE PERSON CITED ABOVE

Response to Request for Production

(J Yes &INo Yes KINo [| Cl Yes Gf1No

~ -\u- Fors

COT-000055

ExhibitB
 

Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 31 of 45

 

Tallahassee Police Department |. Case Number O
Property & Evidence Receipt olo|- {7 ct

‘ype or 3.

3 be fy, Saf

  
    

 

INCIDENT
a

6. Person Type Codes: V = Victim O= Owner R= Person P= Discovering Person S= Suspect A = Arrested Person (Note all that apply)
Coto] 7. Name (Last, First Middle) Gace]9.Seal 10,D.0.8. | 11, Address (Include City, State, and ZIP Code) | 12. Home Phone 43. Work Phone

A. E b eh xz

14. Item iS. (Found property -— circumstances of
trade or manufacture size, color, condition,

/ A

w
=
-
<
om
%
<
Zz

1 .
(1 Yes es CJNo

Signature of person from (if present): 23, s Approval

Officer and 1D Number: 25. Verifying Signature (required for cash)

Wo 7 ~ Received by: Inperson.

Afier-bours Storage: QO
Other:

In person: [J
After-hours Storage: C]
Other:

‘CHAIN OF CUSTODY

In person; 1
After-hours Storage:
Other:

PID139 (Revised May 2016) ORIGINAL - RECORDS MANAGEMENT

 

Response to Request for Production . COT-000230

Exhibit c

 
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISON

ERIC K. BROOKS,

Plaintiff,
CASE NO.: 4:19¢v524-MW-CAS
VS,
OFFICER DAMON MILLER,
Defendant.

/

 

DEFENDANT’S ANSWERS TO INTERROGATORIES

Interrogatory No.1 Why were you on 2509 Golf Terrace on November 12, 2016
at approximately 3:18 p.m.?

Response: Officer Miller was on uniformed patrol in the area of 2516 Golf Terrace
at the date and time in question.

Interrogatory No. 2 Where did you observe Plaintiff Eric Brooks at the time
you developed probable cause to stop him on November 12, 2016 at approximately
3:18 p.m.?

Response: Officer Miller did not stop Plaintiff Eric Brooks while he was driving on
the date and time in question. Instead, Officer Miller followed Mr. Brooks to the
area of 2516 Golf Terrace where he had a consensual encounter with him. After Mr.
- Brooks admitted to driving without a valid license, Officer Miller had probable cause
to arrest him for this criminal] traffic infraction.

Interrogatory No. 3 Why did you stop Eric Brooks when he was walking
down 2509 Golf Terrace on November 12, 2016 at approximately 3:18 p.m.?

Response: Officer Miller did not stop Mr. Brooks while he was walking nor was

their encounter at 2509 Golf Terrace. Rather, Officer Miller observed Mr. Brooks
driving a black KTA bearing FL tag 827QHG and observed Mr. Brooks park in front

Exhibit D-L
Case: 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 33 of 45

of 2516 Golf Terrace. Officer Miller observed Mr. Brooks exit the vehicle and begin
walking towards pedestrians gathered in the area. Officer Miller also drove to this
area and exited his vehicle. Officer Miller than had a consensual encounter with Mr.
Brooks and asked him for his driver’s license.

Interrogatory No. 4 . Why did you ask Brooks who was driving the black Kia?

Response: Officer Miller asked Plaintiff this question as part of his consensual
encounter with him, which Plaintiff participated in.

Interrogatory No. 5 Why did you not write Eric Brooks a ticket for driving the
black Kia without a license?

Response: Plaintiff was arrested for this criminal traffic infraction and an additional
civil ticket was not required.

Interrogatory No. 6 Why did you not initiate a traffic stop if you were if you
thought Plaintiff Eric Brooks broke the law?

Response: Officer Miller was not aware Mr. Brooks had violated the law by driving
without a valid license at the time Officer Miller observed Plaintiff driving. Only
when Officer Miller learned that Plaintiff was driving without a valid license through
his consensual encounter with him ‘did he have reason to initiate an arrest.

Interrogatory No. 7 Why did you wait until Eric Brooks exited the black Kia
before you made contact? .

Response: Officer Miller was not conducting a traffic stop; he was having a
consensual encounter with Plaintiff.

Interrogatory No. 8 Why did you follow the car if no crime had been
committed?

Response: Officer Miller followed the car as part of proactive policing and to initiate
a consensual encounter. Crimes were being committed by Plaintiff, as he was
operating a vehicle with the knowledge that he had never possessed a driver’s license
and also had cocaine in his possession, although Officer Miller did not learn of these
crimes until after his consensual encounter with Plaintiff and his search of Plaintiff
subsequent to arrest.

Exhibit D-2
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Interrogatory No. 9 Why did you ask Eric Brooks for his license if you never
observed him committing and driving or traffic infractions? ‘

Response: Officer Miller asked Plaintiff for his license as part of their consensual
encounter.

Interrogatory No. 10: What is so consensual about the contact with you and Eric
Brooks? When you forcefully grabbed him and slammed him against the patrol
vehicle because he refused to answer any questions?

Response: Defendant objects to this Interrogatory as it assumes allegations shown
to be false by the MAVRIC video in this case. Officer Miller never grabbed Plaintiff
nor did he slam him against his patrol vehicle. The initial interaction between
Plaintiff and Officer Miller was consensual, and Officer Miller placed Plaintiff into
handcuffs only after probable cause for his arrest had been established.

Interrogatory No. 11: Why did you describe your first contact with Eric Brooks as
consensual?

Response: A consensual encounter is one in which an officer approaches an
individual with no reasonable suspicion or probable cause that a crime is being
committed, during which time a civilian may terminate the interaction with an
officer. In this instance, Officer Miller approached Plaintiff and engaged him in
conversation, although he did not have a basis for a criminal stop at that moment,
which makes this a consensual encounter. However, during their consensual
encounter, Officer Miller developed probable cause for Plaintiff’s arrest for driving
without a valid license.

Interrogatory No. 12: How many criminal charges resulted from the Probable Cause
Affidavit # 0016037025?

Response: Two; Plaintiff was charged with Operating a Motor Vehicle without a
Valid Driver’s License in violation of Florida Statute, 322.01(1), and Possession of
Cocaine in violation of Florida Statute, 893.13(6)(A).

Interrogatory No. 13: What was the disposition of the criminal charges?

Response: On October 27, 2017, the State Attorney’s Officer filed a Nolle Prosequi
dismissing these charges against Plaintiff.in exchange for his plea in 2016CF3454.

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Interrogatory No. 14: Have you ever been investigated for falsifying any Probable
Cause Affidavits or any other documents?

Response: No.

Loe aan
[ff eetPanonn Miller, Jr.

I HEREBY SWEAR AND AFFIRM THE ABOVE ANSWERS ARE TRUE TO
THE BEST OF MY INFORMATION, KNOWLEDGE AND BELIEF, THAT
MATERIALLY FALSE STATEMENTS KNOWINGLY MADE WITH THE
INTENT TO DEFRAUD OR MISLEAD SHALL SUBJECT ME TO THE
PENALTY FOR PERJURY AND MAY ALSO BE CONSIDERED A FRAUD
UPON THE COURT.

Date: | \pe LS , 2020

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BEFORE ME, the undersigned authority, personally appeared Officer Damon
Miller, Jr., who being first duly sworn, says that he has read the above and foregoing

Answers to Interrogatories and the same are true and correct to the best of his
knowledge and belief.

SWORN TO AND SUBSCRIBED before me this }>% day of
Ape | , 2020.

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PRINT, TYPE OR STAMP NAME OF
NOTARY
Personally known __|
OR Produced Identification
Type of Identification Produced

 

CERTIFICATE OF SERVICE
I hereby certify that on April AT , 2020, a copy of the foregoing was served
by regular mail to Plaintiff, Eric K. Brooks, Inmate No. 582151, Tomoka
Correctional Institution, 3950 Tiger Bay Road, Daytona Beach, Florida 32124.

s/ Hannah D. Monroe

Florida Bar Number 102762
Assistant City Attorney _

City Attorney’s Office

300 South Adams Street, Box A-5
Tallahassee, FL 32301

(850) 891-8554; Fax: (850) 891-8973
Hannah.Monroe(@@talgov.com
Attorney for Defendant

Officer Damon Miller

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
ERIC K. BROOKS,
Plaintiff,
VS. CASE NO.: 4:19c¢v524-MW/MAF
OFFICER DAMON MILLER,
Defendant. /

 

DEFENDANT’S RESPONSE TO PLAINTIFF’S
FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

Defendant, OFFICER DAMON MILLER, submits his response to the request
for production of documents served on Defendant via regular mail on March 26,
2020, by Plaintiff, “Eric K. Brooks:

RESPONSES TO REQUESTS FOR PRODUCTION

1, Tallahassee Police Department policy and procedures for an officer’s
determination of probable cause.

Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See Bates Stamped Documents Nos. 1 - 39.

2. Any and all investigation results that came from this incident of arrest.

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Response: There are no documents responsive to this request in Defendant’s
possession, custody, or control. Per the document produced in response to Request
for Production Number 5, Tallahassee Police Department Internal Affairs
Department did not deem this incident required an investigation.

3. All investigation reports from the Internal Affairs office of the arrest.

Response: There are no documents responsive to this request in Defendant’s
possession, custody, or control. Per the document produced in response to Request
for Production Number 5, Tallahassee Police Department Internal Affairs
Department did not deem this incident required an investigation.

4, All grievances filed to the Internal Affairs.

Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See Bates Stamped Documents Nos. 40 - 47.

5. All responses and answers to the grievances that Plaintiff filed against Officer
Damon Miller to the Internal Affairs.

Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See Bates Stamped Document No. 48.

6. | The audio recording of the arrest MAVRIC # 100711.

Exhibit E-a
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Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See discs produced at Bates Nos. 49-50.

7. The probable cause report for the arrest.

Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See Bates Stamped Documents Nos. 51 - 55.

8. Officer Damon Miller disciplinary record.

Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See Bates Stamped Documents Nos. 56 - 70.

9. Officer Damon Miller use of force record.

Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been
produced. See Bates Stamped Documents Nos. 71 - 225.

10. Medical complaints and record from the Leon County Jail from this incident.

Response: There are no documents responsive to this request in Defendant’s
possession, custody, or control. Per the document produced in response to Request
for Production Number 5, Tallahassee Police Department Internal Affairs

Department did not deem this incident required an investigation.

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Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 40 of 45

11. Any other officer reports filed that were part of the above incident.
Response: Documents responsive to this request, to the extent they exist and
are in the possession, custody, and control of Defendant or his employer, have been

produced. See Bates Stamped Documents Nos. 226 - 230.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on April 17, 2020, true and correct copy of the
foregoing has been served by regular mail to Plaintiff, Eric K. Brooks, Inmate No.
582151, Tomoka Correctional Institution, 3950 Tiger Bay Road, Daytona Beach,

Florida 32124.

s/ Hannah D. Monroe

Florida Bar Number 102762
Assistant City Attorney

City Attorney’s Office

300 South Adams Street, Box A-5
Tallahassee, FL 32301.

(850) 891-8554; Fax: (850) 891-8973
Hannah.Monroe@talgov.com
Attorney for Defendant

Officer Damon Miller

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TALLAHASSEE POLICE DEPARTMENT

(e.g., electronic cigarettes) in all COT owned or leased buildings,
facilities and vehicles.

3. Officers hired after September 3, 1985, shall not smoke tobacco
products on- or off-duty.

4. Officers hired after October 1, 1990 shall not smoke or otherwise
use tobacco products on- or off-duty.

5. Officers hired prior to the dates previously mentioned who use
tobacco products shall:

a. Doso as inconspicuously as possible if on-duty, and

b. Never use such products in any public or private place where
prohibited by state law or city ordinance.

Y. Providing Address and Telephone Number

1. Members are required to have an operational telephone at which
they can be contacted.

2. Promptly upon reporting for duty in a new work unit, members shall
provide their correct residence address and telephone number to
the immediate supervisor or other proper authority.

3. Members are responsible for reporting/updating changes in their
address or telephone number(s) within 24 hours of the change, as
follows:

a. To their immediate supervisor,

b. In the COT computer software allowing members to complete
basic Human Resources transactions (i.e., PeopleSoft HR Self-
Service system), and

c. In the Department’s time and attendance software (i.e., Telestaff
system).

iil. ACTS OF MISCONDUCT
The following acts of misconduct are unacceptable for members:

A. Abuse of Position

 

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RULES OF CONDUCT JUNE 6, 2016
Response to Request for Production COT-000027

Exhiber F-1.
Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 42 of 45

TALLAHASSEE POLICE DEPARTMENT

b. The possession of a personal medication is warranted, and
conforms to the mandates of Chapter 705 (Alcohol and Drugs),
COT Administrative Policies and Procedures.

V. Compromising a Criminal or Traffic Case

1. Members shall not interfere with the service of lawful process. |

2. Members shall not interfere with the attendance or testimony of
witnesses through coercion, bribery, or other means.

3. Members shall not attempt to have any traffic citation or notice to
appear reduced, voided, or stricken from the court calendar without
due cause.

4. Members shall not take any action which will interfere with the
efficiency or integrity of the administration of justice.

5. Members who have knowledge of such interference by a member
shall promptly inform a Department supervisor.

W. Unauthorized Use of Department Letterhead and Address

1. Members shall not use Department letterhead, paper, envelopes, or
postage for private or personal business.

2. Members shall not send written correspondence out of the
Department without proper authority.

3. Members shall not use the Department as a mailing address for
private or personal purposes with the exception that it may be used
for a vehicle, vessel and trailer registration or driver's license for the
member and family members living at the same address as the
member.

X. Unauthorized Participation in Commercial Testimonials

1. Members shall not permit their names or photographs to be used to
endorse any product or service in any way connected with law
enforcement without the permission of the Chief of Police.

2. Members shall not, without the permission of the Chief of Police,
allow their names or photographs to be used in any commercial
testimonial alluding to their position or employment with the

 

Department.
GENERAL ORDER 46 PAGE 24 of 28
RULES OF CONDUCT JUNE 6, 2016
Response to Request for Production COT-000035

Exhjbit F2
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TALLAHASSEE POLICE DEPARTMENT

DEFINITIONS

Bias Based Profiling: The selection of individuals based solely on a common
trait of a group. This includes, but is not limited to: race, ethnic background,
gender, sexual orientation, religion, economic status, age, cultural group or other
identifiable groups.

Foreign National: For purposes of consular notification, any person who is not a
citizen of the United States, including “aliens” who possess a United States
“Green Card,” and those illegally in the United States. A foreign national claiming
the United States as one country in their dual citizenship shall be treated
exclusively as a citizen of the United States.

Off-duty: When an officer is not engaged in on-duty or secondary employment
activity.

On-duty: When an officer is working their regular duty assignment or any
special assignment compensated by the Department.

Secondary Employment: Employment where an officer works for an entity
other than the Department, and a condition of the employment is the actual or
potential use of law enforcement powers by the employed police officer.

Shall: Indicates the described action is mandatory.

Should: Indicates the described action is not mandatory, but preferred.
PROCEDURES

I. GENERAL GUIDELINES

A. When effecting arrests, officers shall ensure those rights mandated by
the United States Constitution are provided to the arrested person.

B. When effecting arrests, officers shall obey the laws of arrest as
outlined in FS Chapter 901, Arrests.

C. Officers shall not make any arrest decision based upon bias based
profiling.

D. Officers shall handcuff all arrested persons (hands behind back) unless
circumstances reasonably justify otherwise.

 

GENERAL ORDER 6 PAGE 2 of 1 1

ARRESTS AND ALTERNATIVES TO ARREST AUGUST 8, 2017
Response to Request for Production COT-000002

Exhibit G-L
Case 4:19-cv-00524-MW-MAF Document 51 Filed 08/12/20 Page 44 of 45

TALLAHASSEE POLICE DEPARTMENT

2. Not utilize any non-Department-approved firearm to make an arrest
unless it is used to prevent the imminent great bodily harm to or
death of themselves or another person.

D. Off-duty officers who make arrests shall summon on-duty officers as
soon as practical.

E. Off-duty officers who make arrests shall ensure the appropriate
arrest/booking paperwork is completed contemporaneous to the arrest.

F. Off-duty officers shall submit other required police reports within
twenty-four (24) hours of the arrest, unless directed to do otherwise by
an on-duty supervisor.

IV. ARRESTS WITHOUT A WARRANT

A. When making arrests without a warrant, officers shall comply with FS
Chapter 901 and current federal and Florida case law.

B. Officers shall not enter a dwelling or structure to make a warrantless
arrest absent a valid exception to the search warrant requirement.

V. ARRESTS WITH A WARRANT
A. Before making an arrest with a warrant, officers shall determine if:

1. The person to be arrested is the one for whom the warrant is
issued, and

2. The warrant is valid.

B. Officers shall use reasonable diligence to ensure the person to be
arrested is the person named in the warrant. When in doubt, officers
shall use simple and direct means of checking identification when such
means exist (e.g., photographs, automated inquiries, fingerprint
classifications, intelligence information).

C. Officers shall verify the validity of all Leon County arrest warrants
through the Justice Information System (JIS).

D. Officers shall verify the validity of non-Leon County arrest warrants
through FCIC/NCIC. .

 

GENERAL ORDER 6 PAGE 7 of 11
ARRESTS AND ALTERNATIVES TO ARREST AUGUST 8, 2017
Response to Request for Production COT-000007

Exhibit G-2

 
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